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                    IN THE UNITED STATES DISTRICT COURT ]
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                              EASTERN DISTRICT OF VIRGINIA
                                                                                    N - 8 2019
                                        Alexandria Division

 UNITED STATES OF AMERICA


                                                        No. l;17-CR-295-CMH

 ABDIRIZAK HAJIRAGHE WEHELIE,
      a/k/a"HajiRaghe,"

         Defendant.



                                       PLEA AGREEMENT


       The United States and the defendant, Abdirizak Haji Raghe Wehelie, a/k/a Haji Raghe,

have entered into an agreement pursuant to Rule 11 ofthe Federal Rules of Criminal Procedure.

The terms ofthe agreement are as follows:

       1.      Offense and Maximum Penalties

       The defendant agrees to plead guilty to Count Six ofthe superseding indictment(the

"indictment") charging the defendant with making a false statement to the Federal Bureau of

Investigation, in violation of Title 18, United States Code, Section 1001. The maximum

penalties for this offense are a maximum term offive years of imprisonment, a fine of$250,000,

and a supervised release term of a maximum ofone year. The defendant understands that this

supervised release term is in addition to any prison term the defendant may receive, and that a

violation of a term of supervised release could result in the defendant being returned to prison for
the full term of supervised release.

       2.      Factual Basis for the Plea

       The defendant will plead guilty because the defendant is in fact guilty ofthe charged
offense. The defendant admits the facts set forth in the statement of facts filed with this plea
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